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 1
     ANTHONY P. CAPOZZI, CSBN: 068525
 2   LAW OFFICES OF ANTHONY P. CAPOZZI
     1233 W. SHAW AVE., SUITE 102
 3   FRESNO, CALIFORNIA 93711
     PHONE: (559) 221-0200
     FAX: (559) 221-7997
 4   EMAIL: Anthony@capozzilawoffices.com
     www.capozzilawoffices.com
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 6   ATTORNEY FOR Defendant,
     MARK BAGDASARIAN
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 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                               ******
11   UNITED STATES OF AMERICA,                         Case No.: 1:11-CR-00352-LJO-SKO
12
                    Plaintiff,                         STIPULATION TO CONTINUE STATUS
13                                                     CONFERENCE AND ORDER
            v.
14                                                     Date: May 16, 2016
     MARK BAGDASARIAN AND RYAN                         Time: 8:30 a.m.
15   BAGDASARIAN,                                      Courtroom: 4
                                                       Hon. Lawrence J. O’Neill
16                  Defendants.
17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their

19   respective counsel, Kevin P. Rooney, Anthony P. Capozzi, and Charles J. Lee, that the Status

20   Conference, presently set for May 16, 2016, at 8:30 a.m., be continued to July 18, 2016, at

21   8:30 a.m.

22          This continuance is at the request of all parties. United States v. Lovan (15-10122) has

23   been argued and submitted to the Ninth Circuit on December 7, 2015. This litigation involves

24   the ability of the United States Department of Justice to expend funds to litigate cases

25   implicating state marijuana authorizations. The ruling on that case will have a substantive

26   impact on the instant case and the parties would like to see the outcome in order to properly

27   engage in case resolution.

28          Based on the above-stated findings, the ends of justice served by continuing this status
                                                      1
                           STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                      CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 91 Filed 05/12/16 Page 2 of 3
 1   conference as requested outweigh the interest of the public and the defendant in a trial within

 2   the original date prescribed by the Speedy Trial Act.

 3            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 4   seq., within which trial must commence, the time period of May 16, 2016, through July 18,

 5   2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 6   results from a continuance granted by the Court at defendant’s request on the basis of the

 7   Court's finding that the ends of justice served by taking such action outweigh the best interest

 8   of the public and the defendant in a speedy trial.

 9            So Stipulated:

10                                                Respectfully submitted,

11   Dated:       May 10, 2016              By: /s/Kevin P. Rooney
                                                KEVIN P. ROONEY
12                                              Assistant United States Attorney
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14

15   Dated:       May 10, 2016              By: /s/Anthony P. Capozzi
                                                ANTHONY P. CAPOZZI
16                                              Attorney for MARK BAGDASARIAN

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18
     Dated:       May 10, 2016              By: /s/Charles Lee
19                                              CHARLES LEE
                                                Attorney for RYAN BAGDASARIAN
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                               STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                          CASE NO.: 1:11-CR-00352-LJO-SKO
     Case 1:11-cr-00352-LJO-SKO Document 91 Filed 05/12/16 Page 3 of 3
 1                                   ORDER

 2          IT IS SO ORDERED. Good cause having been shown, the Status Conference set for

 3   May 16, 2016, is hereby continued to July 18, 2016, at 8:30 a.m. Additionally, time shall be

 4   excluded by stipulation from the parties and pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv).

 5   IT IS SO ORDERED.

 6      Dated:     May 12, 2016                           /s/ Lawrence J. O’Neill _____
                                                 UNITED STATES CHIEF DISTRICT JUDGE
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                          STIPULATION AND ORDER TO CONTINUE STATUS CONFERENCE
                                     CASE NO.: 1:11-CR-00352-LJO-SKO
